                                 NUMBER 13-16-00368-CV

                                 COURT OF APPEALS

                      THIRTEENTH DISTRICT OF TEXAS

                         CORPUS CHRISTI - EDINBURG
____________________________________________________________

KEITH WILEY,                                                                              Appellant,

                                                   v.

HOLLYWOOD KINGLEY II, LLC; LIGHTHOUSE
PROPERTY MANAGEMENT; TROPICANYON II, LLC;
MARQUE AUSTIN COMMONS, LLC; OKUMO
AUSTIN COMMONS, LLC; QUEZ AUSTIN
COMMONS, LLC; AND CAPSTONE REAL ESTATE,            Appellees.
____________________________________________________________

             On appeal from the 201st District Court
                    of Travis County, Texas.
____________________________________________________________

                              MEMORANDUM OPINION
                 Before Justices Rodriguez, Benavides, and Perkes
                         Memorandum Opinion Per Curiam

        Appellant, Keith Wiley, filed an appeal from a judgment rendered against him in

favor of appellees.1 On July 27, 2016, the Clerk of this Court notified appellant that the


        1This case is before the Court on transfer from the Third Court of Appeals in Austin pursuant to a
docket equalization order issued by the Supreme Court of Texas. See TEX. GOV'T CODE ANN. § 73.001
clerk's record in the above cause was originally due on July 22, 2016, and that the deputy

district clerk, Victoria Chambers, had notified this Court that appellant failed to make

arrangements for payment of the clerk's record. The Clerk of this Court notified appellant

of this defect so that steps could be taken to correct the defect, if it could be done. See

TEX. R. APP. P. 37.3, 42.3(b),(c). Appellant was advised that, if the defect was not

corrected within ten days from the date of receipt of this notice, the appeal would be

dismissed for want of prosecution.

       On August 8, 2016, the Clerk of the Court notified appellant that he was delinquent

in remitting a $205.00 filing fee. The Clerk of this Court notified appellant that the appeal

was subject to dismissal if the filing fee was not paid within ten days from the date of

receipt of this letter. See id. 42.3(b),(c).

       Appellant has failed to respond to this Court’s notices and has failed to pay the

filing fee. Accordingly, the appeal is DISMISSED FOR WANT OF PROSECUTION.

See TEX. R. APP. P. 42.3(b), (c).

                                                                       PER CURIAM


Delivered and filed the
2nd day of September, 2016.




(West, Westlaw through 2015 R.S.).

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